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                                                                 November 6, 2023

 Hon. Vera Scanlon
 U.S. Magistrate Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

                 Re: Lanasa v. Stiene, et al. 22-cv-5686


 Your Honor:

 This letter shall serve as the Plaintiffs’ response to the Defendants’ letter motion to compel.

 First of all, it is essential to set forth that the Plaintiffs have been available, at all times, to meet
 and confer. Plaintiffs’ records show that Defendants only once sought to meet and confer, and
 this was by email dated July 25, 2023, and that there was a subsequent telecon on July 26, 2023
 at approximately 11:00 a.m., in which the parties did “meet and confer” (i.e., Defendants’ offer
 was, in fact, accepted). Further, Plaintiffs’ daily diary shows that we did have a telecon in which
 we discussed both Plaintiffs’ discovery demands, and those of Defendants, at which no
 satisfactory resolution was reached. While the letter of July 27 referenced several dates for
 meeting and conferring, this was the only and last time that Defendants’ counsel made any effort
 to so meet and confer. In fact, the Defendants were totally silent regarding their Discovery
 demands until their filing on the last day of Discovery (October 31) – a period of more than three
 months from their letter of July 27.

 On November 4, 2023, Plaintiffs’ counsel emailed a letter to Defendants’ counsel in which he
 stated the following:
         I would propose that we meet and confer regarding any objections regarding
         Discovery. I am away in Denver and Colorado Springs all next week on other
         client matters, but would propose sometime the week of November 13;
         specifically, either November 14, 16 (in the a.m.), or 17 (in the p.m.).

 Hopefully Defendants’ counsel will avail themselves of this opportunity so as to avoid any
 further pre-motion to motion practice.

 As to the Plaintiffs’ responses to the Defendants’ Interrogatories and Document Demands. As
 the Court can see, the Plaintiffs made a concerted effort to provide the discovery that was
 demanded, and included a number of documents in response to the Document Demands. (This
 was in direct contravention to the Defendants’ Responses to the Plaintiffs’ Demands, in which
 the Defendants provided no genuine responses at all, and objected to every demand made.)

 Many of the Responses were perfectly satisfactory. These were , in Summary, as follows:
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    Interrog. 2: Notwithstanding the above, Plaintiff LANASA has no criminal history other than
    an incident that happened in 1989 while on leave from the Army. The charges were
    ultimately dismissed on the basis of self-defense. See attached Fingerprint Report from the
    FBI, dated Sep. 30, 2021.

    Interrog. 3: Included in this is the bankruptcy filing for Matter of TSR, LLC., 21-1577 (Bankr.
    Ct. E.D.N.C.). See attached Notice of Chapter 7 Bankruptcy, litigation costs in the matter of
    TSR, LLC v. Wizards of the Coast, 21-cv-1705 (W.D. Wash.), and litigation costs in the
    current litigation. See also Documents produce.

    Interrog 4: This information has been provided previously in the Rule 26(a) list of potential
    witnesses.

    Interrog 5: Plaintiffs further object to this Interrogatory as it requests information prior to the
    dates set forth in the Amended Complaint. And, further Objects as this Interrogatory
    requests information regarding “Dave Johnson”; not a Plaintiff in this action.

    Interrog 6: Plaintiff has not destroyed or otherwise hidden or failed to preserve any
    documents or records relevant to this case in any relevant and material period of time.

    Doc Demand 3: In addition, thereto, such documents and records are in the possession,
    custody and control of the named Defendants, and, despite having made a Demand for their
    production, none has been forthcoming to date.

    Doc Demand 4: Plaintiffs further object to this Demand as it contains no time frame, and is
    therefore overbroad and unduly burdensome.

    Doc Demand 5: Plaintiffs further object to this Demand as it seeks documents not related to
    this litigation, such as personal financial information, and other sources of income unrelated
    to this litigation. Plaintiffs further object to the disclosure of confidential financial, medical,
    and other information of a proprietary or personal nature, or otherwise privileged, in the
    absence of a Protective Order from the Court. [Defendants state that the parties agreed to the
    proposed Protective Order, and hence, it should have been applied. As the Court is well
    aware the Court did amend the proposed Protective Order, and hence, waiting for the fully
    executed Protective Order was perfectly reasonable.

    Doc Demand 8: See Amended Complaint at ¶ 22: Jan. 8, 2022, Mar. 17, 2022, Dec. 17, 2022,
    Nov. 27, 2022; ¶ 92.

    Doc Demand 13: Plaintiffs further object to the disclosure of confidential financial, medical,
    and other information of a proprietary or personal nature, or otherwise privileged, in the
    absence of a Protective Order from the Court. [Nevertheless, Plaintiffs provided documents
    in response thereto.]
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    Doc Demand 14: Plaintiffs further object to the disclosure of confidential financial, medical,
    and other information of a proprietary or personal nature, or otherwise privileged, in the
    absence of a Protective Order from the Court.

    Doc Demand 15: See Amended Complaint at ¶ 22: Jan. 8, 2022.
    Doc Demand 19: Plaintiffs further object to the disclosure of confidential financial, medical,
    and other information of a proprietary or personal nature in the absence of a Protective Order
    from the Court.

    Doc Demand 21: This information has been previously provided as part of Plaintiffs’ initial
    disclosure under Rule 26.

 It should be noted that while it is accurate that L.Civ.R. 33.3 is designated for the Southern
 District of New York, Courts on this District have adopted in principal, in the interest of moving
 discovery forward, and as a matter of judicial discretion. See, e.g., DiStefano v. Law Offices of
 Barbara A. Katsos, PC, 2013 WL 1339536 at *3 (E.D.N.Y. Mar. 29, 2013); Weiss v. Nat’l
 Westminster Bank, PLC, 242 F.R.D. 33, 64-65 (E.D.N.Y. 2007); Strauss v. Credit Lyonnais,
 S.A., 242 F.R.D. 199, 233-34 (E.D.N.Y. 2007).


                                                     Respectfully submitted,


                                                     /s/ Bernard V. Kleinman
                                                     Bernard V. Kleinman
                                                     Attorney for Plaintiffs

 cc: All counsel of record by ECF
